Case 1:15-cv-00302-PAB-MJW Document 50 Filed 12/30/15 USDC Colorado Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 15-cv-00302-PAB-MJW

  YSIDRO LONGORIA,

         Plaintiff,

  v.

  CORRECTIONS CORPORATION OF AMERICA,
  CORRECTIONS OFFICER (C.O.) DENNIS KASTELIC, in his individual capacity and as
  an employee of CCA,
  C.O. G. CARDENAS, in his individual capacity and as an employee of CCA,
  C.O. MATTHEW DOTTER, in his individual capacity and as an employee of CCA,
  C.O. ANDRES DOTTER, in his individual capacity and as an employee of CCA,
  C.O. GLENDA LUCERO, in her individual capacity and as an employee of CCA,
  C.O. BRANDON FLOREZ, in his individual capacity and as an employee of CCA,
  C.O. ANTHONY ROMERO, in his individual capacity and as an employee of CCA,
  C.O. ROSEANN JARAMILLO, in her individual capacity and as an employee of CCA,
  C.O. TIFFANY MAREZ, in her individual capacity and as an employee of CCA,
  C.O. DAVID LAMBERT, in his individual capacity and as an employee of CCA,
  C.O. STEVE MEDINA, in his individual capacity and as an employee of CCA,
  C.O. CHIEF LISA FELLHAUER, in her individual capacity and as an employee of CCA,

         Defendants.


                                       MINUTE ORDER

  Entered by Judge Philip A. Brimmer

        This matter is before the Court on the parties’ Join Stipulated Motion to Dism iss
  With Prejudice [Docket No. 49]. The parties request that the Court enter an order
  dismissing this action with prejudice.

          The stipulation complies with Federal Rule of Civil Procedure 41(a)(1)(A)(ii),
  which provides that the “plaintiff may dismiss an action without a court order by filing: . .
  . a stipulation of dismissal signed by all parties who have appeared.” (emphasis added).
  Furthermore, “[u]nless the notice or stipulation states otherwise, the dismissal is without
  prejudice.” Fed. R. Civ. P. 41(a)(1)(B) (emphasis added). Here, however, the parties
  have agreed to the dismissal of this action with prejudice. Therefore, the case was
  dismissed with prejudice as of the entry of the parties’ joint stipulated motion to dismiss
  with prejudice. No order of dismissal is necessary.

         DATED December 30, 2015.
